        Case 1:21-cv-01367-WMR-JSA Document 1 Filed 04/06/21 Page 1 of 13



                                                                              RK'S OFFICE
                   IN THE UNITED STATES DISTRICT COUR'f1LED IN g~i-Atlanta
                  FOR THE NORTHERN DISTRICT OF GEORGIA u.s.
                             ATLANTA DIVISION                APR O6 202,

AIESHA B. CALLAHAN,                           )
                                              )    Civil Action No:

v.
     Plaintiff,                                )
                                               )
                                                        1 :21-CV-13 6 7
                                              )    JURY TRIAL DEMANDED
EMORY HEALTHCARE, INC.,                       )
                                               )
     Defendant.                                )


                                   COMPLAINT


     COMES NOW Plaintiff, Aiesha B. Callahan, Pro Se without benefit of counsel,

and for cause of action against Defendant, Emory Healthcare INC., ("EHC"),

respectfully states as follows:


                          JURISDICTION AND VENUE


     1. Plaintiff invokes jurisdiction over this court pursuant to claims under the

        Americans with Disabilities Act of 1990, as amended 42 U.S.C. § 12101-

        under 28 U.S.C. §§ 1331 and 1343(a).


     2. The unlawful employment practices alleged in this complaint, were

        committed within this District pursuant to 28 U.S.C. § 1391.




                                          1
   Case 1:21-cv-01367-WMR-JSA Document 1 Filed 04/06/21 Page 2 of 13




                                  PARTIES


3. Aiesha B. Callahan is an adult citizen of the United States, who resides in

   Atlanta, Georgia, Fulton County - within the same jurisdiction of this Court.

4. EHC hired Ms. Callahan on February 25, 2013 as an Anesthesia Technician

   at Emory University Hospital Midtown ("EUHM") in Atlanta, Georgia,

   Fulton County.

5. September 10, 2019, Defendant terminated Ms. Callahan's employment from

   her position as Patient Administrative Liaison ("PAL") at Emory University

   Hospital at Wesley Woods ("EWWH'') in Atlanta, Georgia, Dekalb County.

6. EHC is a domestic nonprofit corporation, licensed to conduct business in

   Georgia with multiple locations in this District.

7. EHC is a person, employer and engages in industry that affects commerce

   within the meaning of § 701 of Title VII of the Civil Rights Act of 1964 as

   modified by the 1991 Civil Rights Act, 42 U.S.C.§ 2000e.

8. At all times material to this complaint, EHC conducted business within this

   State, District and maintained more than 15 employees within the meaning of

   42 U.S.C. §2000e(b).

9. Service of this complaint will be rendered by Plaintiff to EHC's counsel (who

   will also be served by the Clerk with the ECF filing system) and registered
                                       2
  Case 1:21-cv-01367-WMR-JSA Document 1 Filed 04/06/21 Page 3 of 13




   agent, in accordance with to the Certificate of Service herein, therefore

   Summons may not be necessary.

                 ADMINISTRATIVE PREREOUSITES


10. Plaintiff filed a timely Charge of ADA discrimination and retaliation with the

   Equal Employment Opportunity Commission ("EEOC"), and files this action

   within 90-days receipt of the EEOC's Notice ofRight to Sue, dated March 31 ,

   2021. See, Exhibit A.

                      STATEMENT OF THE FACTS


11. Ms. Callahan commenced FMLA leave on March 19, 2017.

12. While on leave - May 23, 2017, her physician completed Emory University 's

   Office of Accessibility Services ("OAS") intake medical questionnaire and

   requested that she be reassigned for accommodation from her prior role as

   Patient Administrative Liaison ("PAL") at Emory University Hospital 's

   Emergency Department.

13. OAS registered Ms. Callahan with its department because she is a qualified

   individual with disability.

14. In June 2017, Sharon Barrett, Human Resources Manager, informed her

   superior Melanie De Gennaro, Vice President of Human Resources, that Ms.



                                      3
   Case 1:21-cv-01367-WMR-JSA Document 1 Filed 04/06/21 Page 4 of 13




   Callahan was searching for transfer opportunities, because of her physician' s

   accommodation request.

15. Ms. De Gennaro contacted hiring managers in her network, located, and

   offered Ms. Callahan accommodation into a PAL position at EWWH -

   created just for her, which was not published as an open position.

16. After not being selected for any position she applied for - including the PAL

   position at EUHM and three Anesthesia Technician positions - rather than

   being terminated and under duress, Plaintiff accepted the accommodation

   offered at EWWH and her first day was July 10, 2017.

17. The premise of Ms. Callahan's reassignment to EWWH, was based on

   accommodation received by EHC - per her physician' s May 2017

   accommodation request - coordinated through OAS and EHC.

18. December 15, 2017, Ms. Callahan received clarification of her essential job

   duties- because of an interactive process for accommodation request on

   November 10, 2017 - coordinated through OAS and EHC.

19. OAS requires that all supervisors consult with its office and its registered

   individuals before any provided accommodations are changed.

20. July 9, 2019, Ms. De Gennaro informed Ms. Callahan that her essential duties

   would be changed.




                                      4
  Case 1:21-cv-01367-WMR-JSA Document 1 Filed 04/06/21 Page 5 of 13




21. Ms. Callahan asked Ms. De Gennaro and Ed Lawrence, Director, for the job

   description of the part-time Utilization Review Specialist position, which they

   stated would be added to her PAL job as a second job, and no job description

   was provided, therefore Ms. Callahan declined the position.

22. July 17, 2019, Mr. Lawrence met with Ms. Callahan and informed her that

   she had no choice and could not decline the additional job as a part-time

   Utilization Review Specialist and scheduled her for training with Melody

  McCaulla, RN Utilization Review Specialist - without consulting with OAS

   or receipt of Ms. Callahan's informed consent.

23. Mr. Lawrence was aware that Ms. Callahan received accommodation at

   EWWH, after a leave of absence, because her physician determined that she

   was unable to return to her prior role at EUR.

24. Mr. Lawrence and Ms. De Gennaro - specifically targeted Ms. Callahan as

   the only employee within the entire EHC enterprise required to accept the

   additional job at EWWH as a part-time Utilization Review Specialist.

25. Ms. Callahan has never held a position with EHC in a Utilization Review

   department, or any position as and/or like that of a Utilization Review

   Specialist.

26. In contrast to Ms. McCaulla's qualifications, Ms. Callahan was not a

   Registered Nurse.


                                      5
   Case 1:21-cv-01367-WMR-JSA Document 1 Filed 04/06/21 Page 6 of 13




27. The part-time Utilization Review Specialist position was not published as an

   open position - as was the same with the PAL position at EWWH offered to

   Ms. Callahan for accommodation.

28. Ms. Callahan did not accept the position in the Utilization Review

   Department and did not attend the first training scheduled for July 23, 2019

   by Mr. Lawrence - without consulting with OAS or receipt of Ms. Callahan' s

   informed consent.

29. Ms. Callahan escalated complaints to Mary Beth Allen, Chief of Human

   Resources, regarding ongoing discrimination and retaliation, by way of

   interference of the accommodation received -          per her May 2017

   accommodation request - Ms. Allen did not intervene - instead, she stated to

   the effect that Mr. Lawrence could assign her the additional job- without

   consulting with OAS or receipt of Ms. Callahan's informed consent.

30. August 5, 2019, Mr. Lawrence rescheduled Ms. Callahan for training on

   August 6, 2019 with Ms. McCaulla - without consulting with OAS or receipt

   of Ms. Callahan's informed consent, and again Ms. Callahan informed Mr.

   Lawrence that without a job description or consultation with OAS, she could

   not accept the position.

31. August 7, 2019, Ms. De Gennaro and Mr. Lawrence issued Ms. Callahan a

   written reprimand.


                                     6
   Case 1:21-cv-01367-WMR-JSA Document 1 Filed 04/06/21 Page 7 of 13




32. August 16, 2019, Ms. Callahan attended training with Ms. McCaulla,

   scheduled by Mr. Lawrence - without consulting with OAS or receipt of Ms.

   Callahan's informed consent, and was excused by Ms. McCaulla, because Ms.

   Callahan informed her that she was coerced into attending training and never

   accepted the position.

33. August 27, 2019, Mr. Lawrence again scheduled Ms. Callahan for training,

   without consulting with OAS or receipt of Ms. Callahan's informed consent.

34. And, on August 28, 2019, Ms. Callahan again attended training, but was

   excused by Ms. McCaulla, because Ms. Callahan did not have any access

   permitted to access Patient Health Information ("PHI") to complete the

   training and Ms. Callahan informed her that she was coerced into attending

   training and never accepted the position.

35 . September 4, 2019, Ms. De Gennaro and Mr. Lawrence issued Ms. Callahan

   a written reprimand.

36. EHC's employees whose job functions require use of devices or software

   applications, are scheduled for classes to be trained by training specialist -

   coordinated through the Organizational Development Department and during

  training - employees are assigned fictitious logins, passwords, and PHI

   accounts.




                                      7
   Case 1:21-cv-01367-WMR-JSA Document 1 Filed 04/06/21 Page 8 of 13




37. EHC's employees are not permitted to share and/or use any other employees'

   logins and passwords for any reason.

38. EHC's employees are required to log-out of all devices and/or software

   applications after each use.

39. EHC's employees are not permitted to access PHI with another employee's

   login and password.

40. EHC's employees are not permitted to access PHI-unless it is the minimum

   necessitated by their essential job functions.

41. EHC's employees who access PHI with another employee's login and

   password are subject to Federal Health Insurance Portability and

   Accountability Act of 1996 ("HIPAA") 42 U.S.C. 1320d to d-9 violations and

   EHC policy violations.

42. EHC's employees who access PHI that is not the minimum - necessitated

   by their essential job functions - are subject to HIPAA and EHC policy

   violations.

43. When EHC provided Ms. Callahan with accommodation as a PAL at

   EWWH, she was not granted access like that of Ms. McCaulla's, which

   permitted access to software applications and PHI required for the part-time

   Utilization Review Specialist position.




                                       8
   Case 1:21-cv-01367-WMR-JSA Document 1 Filed 04/06/21 Page 9 of 13




44. Ms. DeGennaro ordered Ms. Callahan to access PHI through Ms. McCaulla's

   login and password.

45. September 5, 2019, Ms. Callahan was again scheduled for training by Mr.

   Lawrence - without consulting with OAS or receipt of Ms. Callahan' s

   informed consent , and as coerced, Ms. Callahan again attended training, but

   was excused by Ms. McCaulla, because she did not have access permitted to

   access PHI to complete the training and Ms. Callahan informed her that she

   did not accept the position.

46. September 10, 2019, Ms. Callahan's employment was terminated by Ms. De

   Gennaro and Catherine Maloney, Vice President of Operations.

4 7. Ms. Callahan was not escorted by Public Safety or any other staff on the day

   of her termination, aside from only Ms. De Gennaro, who personally escorted

   her to gather her belongings, then to her vehicle.

48. In March 2018, Ms. Callahan escalated complaints of disparate treatment per

   her May 2017 accommodation request and on May 25, 2018, Tanya Shockley,

   Director of Human Resources concluded her investigation and informed Ms.

   Callahan, Ms. De Gennaro, Jennifer ("Jen") Schuck, Vice President of

   Operations, Mr. Lawrence, Ms. Barrett and Ms. Dana Bible, Human

   Resources Manager, that Ms. Callahan's complaints were investigated and




                                      9
  Case 1:21-cv-01367-WMR-JSA Document 1 Filed 04/06/21 Page 10 of 13




   unsubstantiated. And clarified that Ms. Callahan was reassigned to EWWH,

   as an accommodation, because of her physician's recommendations.

49. Emory University's Office of Equity and Inclusion investigated a complaint

   filed by Ms. Callahan - regarding discrimination and retaliation per her May

   2017 accommodation request; and on September 24, 2018 determined that Jen

   Schuck, Ms. De Gennaro and Mr. Lawrence had engaged in discriminatory

   retaliation in violation of Emory's policies, and no remedies were provided

   byEHC.

50. Ms. De Gennaro' s personal knowledge and perceptions of Plaintiff allege that

   she was always able to perform her job duties with no accommodations and

   deficits in her performance were all behavior based that mostly stemmed from

   poor interpersonal skills, which she certainly did not attribute to any mental

   or physical impairment.

51. Mr. Lawrence's personal knowledge and perceptions of Plaintiff allege that

   she was always able to perform her job duties with no accommodations and

   he believed deficits in her performance were all behavior based, which he

   never attributed to any type of limitation caused by a disability.

52. Ms. Schuck's perceptions of Plaintiff allege that she was always able to

   perform her job duties, with no accommodations and she believed deficits in

   her performance were all behavior based that mostly stemmed from poor


                                      10
  Case 1:21-cv-01367-WMR-JSA Document 1 Filed 04/06/21 Page 11 of 13




  interpersonal skills, which she certainly did not attribute to any mental or

  physical impairment.

                         CLAIMS FOR RELIEF
                     COUNT 1 (ADA Interference)


53. Plaintiff repeats and incorporates references at 1-52 herein and upon

  information and belief, Defendant specifically targeted Ms. Callahan and

  discriminated against her with hostility, coercive reprimands with threats of

  termination and interfered with accommodations previously provided by EHC

  and OAS as per her May 2017 and November 2017 accommodation requests

  in violation Americans with Disabilities Act of 1990, as amended 42 U.S.C.

  §§12101, 12203(b) et seq.

                     COUNT 2 (ADA Retaliation)


54. Plaintiff repeats and incorporates references at 1-53 herein and upon

  information and belief, Defendant intentionally retaliated against her for

  exercise of rights and engagement in protected activities under the ADA - by

  way of wrongful termination, in violation of the Americans with Disabilities

  Act of 1990, as amended 42 U.S.C. §§12101, 12203(a) et seq.




                                    11
          Case 1:21-cv-01367-WMR-JSA Document 1 Filed 04/06/21 Page 12 of 13




                                PRAYER FOR RELIEF


          WHEREFORE, Plaintiff prays that this honorable court grant the following

relief:

   a. Declaratory relief;

   b. Punitive damages, actual and compensatory damages of front and back pay

          from lost wages, benefits, and other expenses which Plaintiff sustained

          because of Defendant's conduct in violation of the ADA - to be determined

          by the conscience of a jury;

   c. A permanent injunction enjoining Defendant, their officers, agents,

          successors, employees, attorneys, and those acting in concert with them from

          engaging in any employment practice or policy which discriminates or

          retaliates against employees in violation of the ADA;

    d. Cordial employment reference letters from Ms. Schuck, Ms. De Gennaro, Ms.

          Maloney, Ms. Allen, and Mr. Lawrence; and

   e. Payment of court fees and any other relief the Court deems just and proper.

Respectfully submitted this 6th day of April 2021.

                                                              IslAiesha B. Callahan
                                                                  Pro Se Plaintiff



                                            12
Case 1:21-cv-01367-WMR-JSA Document 1 Filed 04/06/21 Page 13 of 13




                 EXHIBIT
                   A
